         Case 1:19-cr-00105-SOM Document 10 Filed 11/15/19 Page 1 of 1                                      PageID.21
                                                        ORIGINAL
                                                                                                                 FILED IN THE
AO 442(Rev. 11/11) Warrant for Arrest
                                                                                                        UNITED GTATCa DIoTf'OCI COURT
                                                                                                            DISTRICT OF HAWAII
                                    UNITED STATES DISTRICT COURT
                                                         District of Hawaii
                                                                                                                Nnv I        2019
                                                                                                        atj o'clock and'^ min/ M
                                                                                                            SUE BEITIA, CLER.K of
UNITED STATES OF AMERICA                                              WARRANT FOR ARREST

                              V.                                      Case Number: CR 19-00105 SOM-01

LIANE WILSON aka "Liana Shanti"


  (Name and Address of Defendant)


To: The United States Marshal and any Authorized United States Officer

          YOU ARE HEREBY COMMANDED TO ARREST tOT) LIANE WILSON aka "Liana Shanti" and bring him
or her forthwith to the nearest district/ magistrate judge to answer an Indictment, charging him or her with (brief
description of offense)

Concealment of Bankruptcy Assets




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• in violation of Title 18 United States Code, Section(s) 152(1)                                            crcc
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Date:                         August 15, 2019                                         Sue Beitia, Clerk of Cotitrt     tn
                                                                          and Title ofIssuing Officer    ——oy
                                                                                                          ^ pt




Location:                     Honolulu, Hawaii                              /S/ Sue Beitia by deputy clerk ET
                                                         '^jcfBia^^Prepared/Signed By:



                                            By: Rom Trader, United States Magistrate Judge




                                                            RETURN
 This warrant was received and executed with the arrest of the above-named defendant at


 Date Received gj                               NAME AND TITLE OF ARRESTING OFFICER      SIGNATURE OF ARRESTING OFFICER




 Date of Arrest ||
